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                      UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF LOUISIANA

LEROY TENNART, ET AL.                                CIVIL ACTION

VERSUS                                               NO. 17-179-JWD-EWD

THE CITY OF BATON ROUGE, ET AL.


BRANDON ERP                                          CIVIL ACTION

VERSUS                                               NO. 17-323-JWD-EWD

CITY OF BATON ROUGE, ET AL.


MAX GELLER                                           CIVIL ACTION

VERSUS                                               NO. 17-324-JWD-EWD

CITY OF BATON ROUGE, ET AL.


TRAVIS DAY                                           CIVIL ACTION

VERSUS                                               NO. 17-328-JWD-RLB

CITY OF BATON ROUGE


NIKOLE SMITH, ET AL.                                 CIVIL ACTION

VERSUS                                               NO. 17-436-JWD-EWD

CITY OF BATON ROUGE, ET AL.


SHONTA JACKSON                                       CIVIL CATION

VERSUS                                               NO. 17-438-JWD-EWD

CITY OF BATON ROUGE, ET AL.




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BLAIR IMANI                                                       CIVIL ACTION

VERSUS                                                            NO. 17-439-JWD-EWD

CITY OF BATON ROUGE, ET AL.


LISA BATISTE-SWILLEY                                              CIVIL ACTION

VERSUS                                                            NO. 17-443-JWD-EWD

CITY OF BATON ROUGE, ET AL.



                     STATUS CONFERENCE REPORT AND ORDER

       An in-person status conference was held before Magistrate Judge Erin Wilder-Doomes on

February 20, 2018, with the following participants:

       PRESENT:       James W. Craig                              John K. Etter
                      Emily F. Ratner                             Counsel for plaintiffs,
                      Eric A. Foley                               Brandon Erp and Max
                      Gideon T. Carter, III                       Geller
                      Shani M. Moore-O’Neal
                      Counsel for plaintiffs,                     Deelee S. Morris
                      Lerory Tennart, et al., Nikole              Tedrick K. Knightshead
                      Smith, et al., Lisa Batiste-                Counsel for defendants,
                      Swilley and Shonta Jackson                  City of Baton Rouge, et al.

                      William B. Most                             Dennis J. Phayer
                      Counsel for plaintiffs,                     Counsel for Louisiana
                      Blair Imani, et al.                         State Police defendants

                      Mary G. Erlingson                           Craig E. Frosch
                      Catherine St. Pierre                        Thomas A. Usry
                      Counsel for defendants,                     Counsel for Louisiana
                      Sid J. Gautreaux, III and                   Sheriffs’ Association
                      AIX Group                                   defendants

                      Cullen J. Dupuy
                      Counsel for Livingston
                      Parish Sherriff’s Office
                      defendants




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           Counsel for the parties discussed the pending cases and preliminary issues with respect to

each case. For each of the above captioned cases, the undersigned reviewed the docket sheet with

counsel, specifically focusing on any defendants who had been named but not yet appeared,

pending motions, and counsel’s plans to file additional motions. While the parties had previously

discussed possible consolidation of these matters for purposes of discovery and/or pretrial

procedures during the January 10, 2018 status conference,1 the undersigned advised counsel that

the cases will not be consolidated for any purpose at this time. Thus, the undersigned clarified that

discovery is not open in any of the above-referenced cases at this juncture.

           With respect to the defendants who have been named in the foregoing cases but not yet

served, counsel for the parties confirmed that all of the defendants have either been served or have

made an appearance in Day v. City of Baton Rouge, 17-cv-328 (“Day”), Jackson v. City of Baton

Rouge, et al. 17-cv-438 (“Jackson”), Imani v. City of Baton Rouge, et al., 17-cv-439 (“Imani”),

and Batiste-Swilley v. City of Baton Rouge, et al., 17-cv-443 (“Batiste-Swilley”). With respect to

Tennart, et al. v. Baton Rouge, et al., 17-cv-179 (“Tennart”), counsel for the parties confirmed that

all of the named defendants have either been served or have made an appearance except for Jason

Acree, Carl Alexander, Jesse Barcelona, Michael Barrow, Brandon Bethany, Brandon Blust, Mark

Carrie, Doug Chutz, Lorenzo C. Coleman, Nicholas Collins, James Crisler, Mark Cummings,

James R. Cutrer, Shawn Delaney, Andrew DeSalvo, Robin Ducote, Josh Ellis, Brandon Farris,

John Ford, Wes Hall, David Hamilton, Alan Hamilton, Devin Hernandez, Scott Johnson, David

Kennedy, Joshua Kirst, Earl J. Lapeyrouse, J. Darren Leach, Derrick Maglone, Wayne Martin,

Brett McGee, Brock McMorris, Jared Neland, Thomas Pierce, Neil Porter, Tomas Quintero, Julius

Raymond, Alex Robeau, Noel Salamoni, Theodore Smith, Shona Stokes, Hudson Tabor, Bryan

Taylor, Frederick Thornton, Willie Turner, David Wallace, Leo Wallace, Randall Wiedman, and


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    See, R. Doc. 56.




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Brandon Woods. Counsel for the City of Baton Rouge/Parish of Baton Rouge anticipated making

an appearance on behalf of those defendants.2

         With respect to Erp v. City of Baton Rouge, et al., 17-cv-323 (“Erp”) and Geller v. City of

Baton Rouge, et al., 17-cv-324 (“Geller”), counsel for the parties confirmed that while defendant

AIX Group d/b/a Nova Casualty Company (“AIX Group”) has not yet been served nor has it made

an appearance in either case, AIX Group has executed a waiver of service in each case and its

response is due in both cases on March 9, 2018.3 With respect to Smith v. City of Baton Rouge, et

al., 17-cv-436 (“Smith”), counsel for the parties confirmed that defendant Jared Neland has not

been served nor has he made an appearance in the case.                        Counsel for the City of Baton

Rouge/Parish of Baton Rouge represented to the Court that Neland is a current or former employee

of the City of Baton Rouge or the Parish of Baton Rouge, and that counsel would look into the

matter and anticipated making an appearance on his behalf.

         With respect to the pending motions to stay discovery filed in Tennart,4 Smith,5 Jackson,6

and Batiste-Swilley,7 the undersigned addressed the corresponding motions for extension of time

to file responses to the motions to stay filed in each of the foregoing cases.8 With the exception

of Jackson, the parties agreed to an extension until March 15, 2018 for any responses to be filed

to the motions to stay discovery. In Jackson, the parties agreed to an extension until March 19,

2018 for any response to be filed to the pending motion to stay discovery.




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  After the Status Conference but prior to the issuance of the instant Status Conference Report and Order, counsel for
the City of Baton Rouge/Parish of Baton Rouge filed an Answer to the Amended Complaint on behalf of several
defendants, including those mentioned above who had not previously been served or made an appearance in this case.
See R. Doc. 129.
3
  See, Erp, 17-cv-323, R. Doc. 61; Geller, 17-cv-324, R. Doc. 73.
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  17-cv-179, R. Docs. 118 and 123.
5
  17-cv-436, R. Docs. 66 and 71.
6
  17-cv-438, R. Doc. 35.
7
  17-cv-443, R. Docs. 64 and 65.
8
  See, Tennart, 17-cv-179, R. Doc. 127; Smith, 17-cv-436, R. Doc. 75; Jackson, 17-cv-438, R. Doc. 39; Batiste-Swilley,
17-cv-443, R. Doc. 72.




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        Further, with respect to the Erp, Geller, and Imani cases, counsel for defendants Sid J.

Gautreaux, III, Sheriff of East Baton Rouge Parish and AIX Group represented to the Court that a

motion to dismiss and a motion to stay discovery will be filed in each case before Friday, February

23, 2018. With respect to the Day case, counsel for the plaintiff represented that an amended

complaint will be filed by Friday, February 23, 2018. With respect to the remaining cases, the

undersigned advised counsel that for any case in which an amendment is sought to correct clerical

errors in the operative complaint, plaintiff(s) shall file a motion to substitute, requesting to

substitute the most recent amended complaint with the proposed amended pleading. No counsel

objected to proposed amendments to correct clerical errors, therefore it should be represented in

any such motion to substitute that the motion is unopposed. While the undersigned clarified that

defendants must file separate motions in each case because the cases have not been consolidated

for any purpose, to the extent the plaintiffs wish to file a consolidated response to pending motions

within a case, e.g., where the same issues are raised in several motions, counsel should contact

Judge deGravelles chambers to ensure that procedure is acceptable.

        Accordingly,

        IT IS HEREBY ORDERED that the Motions for Extension of Time to File Response to

Motions to Stay Discovery in Tennart,9 Smith,10 Jackson11 and Batiste-Swilley12 are GRANTED.

In Tennart, Smith and Batiste-Swilley, the parties shall have until March 15, 2018 in which to file

a response to the pending motions to stay discovery.13 In Jackson, the parties shall have until

March 19, 2018 in which to file a response to the pending motion to stay discovery.14 Based on



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  17-cv-179, R. Doc. 127.
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   17-cv-436, R. Doc. 75.
11
   17-cv-438, R. Doc. 39.
12
   17-cv-443, R. Doc. 72.
13
   See, Tennart, 17-cv-179, R. Docs. 118 and 123; Smith, 17-cv-436, R. Docs. 66 and 71; Batiste-Swilley, 17-cv-443,
R. Docs. R. Docs. 64 and 65.
14
   17-cv-438, R. Doc. 35.




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the preliminary issues remaining to be addressed, the undersigned finds good cause to defer entry

of a scheduling order at this time. The undersigned will set scheduling conferences in all matters

at a later date to be determined by the court.

       Signed in Baton Rouge, Louisiana, on March 7, 2018.


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                                                 ERIN WILDER-DOOMES
                                                 UNITED STATES MAGISTRATE JUDGE




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